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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
MAJOR LEAGUE BASEBALL PROPERTIES,
INC.,                                                          :

                          Petitioner,                         :
                                                                   ORDER
                                                              :    19 Civ. 8669 (MKV) (GWG)
CORPORACION DE TELEVISION Y
MICROONDA RAFA, S.A.,                                         :

                           Respondent.                         :
---------------------------------------------------------------x

GABRIEL W. GORENSTEIN, UNITED STATES MAGISTRATE JUDGE

        In accordance with the provisions of 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73, a United
States Magistrate Judge is available to rule on dispositive motions in this case. If the parties
consent to the Magistrate Judge ruling on a particular motion, no objection to the ruling would
be permitted under Fed. R. Civ. P. 72 (b)(2). Instead, the ruling would be treated as any other
ruling in the case and would be reviewable to the extent the ruling would have been reviewable
had it been made by a District Judge.

       Exercise of jurisdiction by a Magistrate Judge to make a ruling on a dispositive motion is
permitted only if all parties voluntarily consent. To determine whether the parties wish to
voluntarily consent to the Magistrate Judge’s disposition of the application for attorney's fees
(Docket # 39 et seq.), defense counsel is directed to send to counsel for plaintiff on or before
November 16, 2020, a copy of the attached consent form bearing either (1) a signature indicating
consent to the Magistrate Judge ruling on the motion or motions identified on the form, or (2) a
notation that the defendant does not consent.

         On or before November 23, 2020, plaintiff’s counsel is directed to file a letter either (1)
stating that all parties have signed the form and attaching that form or (2) stating that all parties
have not consented. If any party has not consented, the letter shall not inform the clerk which of
the parties have not consented but shall merely state that there has not been consent by all
parties.

        This Order is not intended to interfere with the parties’ right to have a trial and/or any
other dispositive proceedings before a United States District Judge. The parties are free to
withhold their consent without adverse substantive consequences. If any party withholds
consent, the identity of the parties consenting or withholding consent shall not be communicated
to any Magistrate Judge or District Judge to whom the case has been assigned.
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         SO ORDERED

DATED:   New York, New York
         November 2, 2020




                                   __________________________________
                                   GABRIEL W. GORENSTEIN
                                   United States Magistrate Judge
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AO 85A (Rev. 02/17) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge


                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                          Southern District of New York

 MAJOR LEAGUE BASEBALL PROPERTIES,
               INC.,                                                          )
                              Plaintiff                                       )
                                  v.                                          )      Civil Action No.      19 Civ. 8669 (MKV) (GWG)
        CORPORACION DE TELEVISION Y                                           )
           MICROONDA RAFA, S.A.                                               )
                             Defendant


    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this authority only if
all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

           Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to have a
United States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
(identify each motion by document number and title) .


                  Motions: application for attorney's fees (Docket # 39 et seq.)




    Printed names of parties and attorneys                                Signatures of parties or attorneys                         Dates
Major League Baseball Properties, Inc./Steven
G. Kobre
Corporacion de Television y Microonda Rafa,
S.A./Russell M. Yankwitt



                                                                  Reference Order

         IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all proceedings and
enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).


Date:
                                                                                                        District Judge’s signature

                                                                                         Mary Kay Vyskocil, United States District Judge
                                                                                                         Printed name and title
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Note:   Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
        magistrate judge. Do not return this form to a judge.




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